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 1   CHRISTOPHER P. BURKE, ESQ.                                         ECF Filed on 11/21/2018
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 4
 5
                            UNITED STATES BANKRUPTCY COURT
 6                            FOR THE DISTRICT OF NEVADA
 7
8    In re:                                             Adv. No.: 18-01046-ABL
 9   SOUTHEAST HOLDING CORPORATION,                     Chapter 7
10                                                      Case No.: 17-12299-ABL
                            Debtor.
11
     BRIAN SHAPIRO, Trustee;
12
                             Plaintiff,
13
     vs.
14
     ODIN, LLC.; and
15   JULIA VASSINA;
                                                        Date: November 19, 2018
16                          Defendants.                 Time: 9:30 a.m.
17
18                                  CERTIFICATE OF SERVICE

19            I hereby certify that I am an employee of Christopher P. Burke, Esq., and on the 20th
20   day of November, 2018, I caused to be served a true and correct copy of:
21            1.     Order Approving Motion to Allow Withdrawal of Counsel(Dkt.#27): and
22            2.     Oder Approving Stipulation to Extend Discovery Deadlines (Dkt.#21)
23
24          X      (Under Administrative Order 02-1(Rev.8-31-04) of the United States
     Bankruptcy Court for the District of Nevada, the above- referenced document was
25   electronically filed on the date hereof and served through the Notice of Electronic Filing
26   automatically generated by that Court’s facilities.
27        X      (UNITED STATES MAIL) By depositing a copy of the above-referenced
28   document for mailing in the United States Mail, first class postage prepaid, at Las Vegas,
                                                    1
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 1   Nevada to the parties listed below, at their last known mailing addresses, on the date above
 2   written.

 3                (OVERNIGHT COURIER) By depositing a true and correct copy of the above-
 4   referenced document for overnight delivery via Federal Express, at a collection facility
     maintained for such purpose, addressed to the parties on the attached service list, at their
 5   last known delivery address, on the date above written.
 6
 7                 (FACSIMILE) That I served a true and correct copy of the above-referenced
     document via facsimile, to the facsimile numbers indicated, to those persons listed on the
8    attached service list, on the date above written.
 9
            DATED: November 21, 2018.
10
                                                      /S/ Adriana Pelayo
11                                                    Employee of
                                                      Christopher P. Burke, Esq.
12
     Julia Vassina
13   10787 Wilshire Blvd. APT 601
14   Los Angeles, CA 90024

15   ODIN, LLC
     Managing agent
16
     C/O INCORP SERVICES, INC.
17   36 SO 18TH Ave Ste D
     Brighton, CO 80601
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